                                          UNITED STATES BANKRUPTCY COURT
                                          WESTERN DISTRICT OF WASHINGTON
                                                  SEATTLE DIVISION

In re:                                                                 §      Case No. 10-24188
                                                                       §
JEREMEY K BROWN                                                        §
LISA M BROWN                                                           §
                                                                       §
                            Debtors                                    §

                                               TRUSTEE’S FINAL REPORT (TFR)

The undersigned trustee hereby makes this Final Report and states as follows:

     1. A petition under chapter 0 of the United States Bankruptcy Code was filed on 11/29/2010. The
        case was converted to one under Chapter 7 on 01/20/2011. The undersigned trustee was
        appointed on 01/20/2011.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                          $300,000.00

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                  $0.00
                          Administrative expenses                                                                                $104,016.02
                          Bank service fees                                                                                          $109.63
                          Other Payments to creditors                                                                              $4,511.07
                          Non-estate funds paid to 3rd Parties                                                                         $0.00
                          Exemptions paid to the debtor                                                                           $64,000.00
                          Other payments to the debtor                                                                                 $0.00

                          Leaving a balance on hand of1                                                                          $127,363.28

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance on funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed
pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth
under 11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)



      Case 10-24188-MLB                      Doc 64          Filed 08/27/18               Ent. 08/27/18 12:44:24                    Pg. 1 of 12
     6. The deadline for filing non-governmental claims in this case was 02/12/2018 and the deadline
        for filing government claims was 02/12/2018. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $9,834.21. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of $9,834.21,
for a total compensation of $9,834.212. In addition, the trustee received reimbursement for reasonable
and necessary expenses in the amount of $0.00, and now requests reimbursement for expenses of
$0.00, for total expenses of $0.00.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 07/27/2018                                                         By:       /s/ Peter H. Arkison
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)



      Case 10-24188-MLB                      Doc 64          Filed 08/27/18               Ent. 08/27/18 12:44:24                    Pg. 2 of 12
                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                        Page No:    1              Exhibit A
                                                                                    ASSET CASES

Case No.:                       10-24188                                                                                                     Trustee Name:                               Peter H. Arkison
Case Name:                      BROWN, JEREMEY K AND BROWN, LISA M                                                                           Date Filed (f) or Converted (c):            01/20/2011 (c)
For the Period Ending:          7/27/2018                                                                                                    §341(a) Meeting Date:                       03/07/2011
                                                                                                                                             Claims Bar Date:                            02/12/2018

                                    1                                  2                           3                                 4                        5                                         6

                          Asset Description                          Petition/              Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                           (Scheduled and                          Unscheduled             (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                       Value                       Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                          Less Liens, Exemptions,
                                                                                             and Other Costs)

 Ref. #
1       Real property 312 13th St, Gold Bar, WA 98251                 $169,260.00                                   $0.00                                          $0.00                                    $169,260.00
        est value $186,000 less an est 9% cost of sale for
        an est value of $169,260.00 : Owe $246,533.00.
         There is no est equity in this property.
2        Cash on hand                                                        $20.00                                 $0.00                                          $0.00                                        $20.00
3        Union Bank/Frontier Bank checking a/c#...3412                      $150.00                                 $0.00                                          $0.00                                       $150.00
         $150 First Heritage (HSA) savings a/c#...9053
4        Household furnishings at residence                                $2,000.00                                $0.00                                          $0.00                                      $2,000.00
5        Wearing apparel at residence                                       $500.00                                 $0.00                                          $0.00                                       $500.00
6        Jewelry at residence                                               $500.00                                 $0.00                                          $0.00                                       $500.00
7        401(k) with Sno Country Value $1,498.75                           $2,510.49                                $0.00                                          $0.00                                      $2,510.49
         401(k) with MFD Value $1,011.74
8        Back Child Support against David Motter Value                 $18,650.01                                   $0.00                                          $0.00                                     $18,650.01
         $18,650.01
9        2006 Ford Fusion Value $9,275 : Owe $8,208.16                 $16,250.00                           $11,462.49                                             $0.00                                     $16,250.00
         2000 Ford Explorer Value $3,125 : Owe
         $3,254.33 1994 Ford F350 Value $3,000 1991
         Oldsmobile Bravada Value $250 1993 Ford
         Escort 2-Dr Hatchback Value $250 1995 Escort
         Wagon Value $250 (Not running) 1965 Ford Pick
         Up Value $100 (Not Running)
10       1973 Bayliner Mutiny w/ Trailer Value $1000                       $1,000.00                                $0.00                                          $0.00                                      $1,000.00
         1979 Reinell 26ft Value $0 (Shell only)
11       4 Dogs, 1 Cat                                                        $5.00                                 $0.00                                          $0.00                                          $5.00
12       Interest in personal injury/product liability       (u)              $0.00                        $236,000.00                                      $300,000.00                                           $0.00
         action


TOTALS (Excluding unknown value)                                                                                                                                                       Gross Value of Remaining Assets
                                                                       $210,845.50                        $247,462.49                                       $300,000.00                                  $210,845.50



                                              Case 10-24188-MLB        Doc 64          Filed 08/27/18          Ent. 08/27/18 12:44:24                  Pg. 3 of 12
                                                                              FORM 1
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    2              Exhibit A
                                                                           ASSET CASES

Case No.:                  10-24188                                                                                              Trustee Name:                               Peter H. Arkison
Case Name:                 BROWN, JEREMEY K AND BROWN, LISA M                                                                    Date Filed (f) or Converted (c):            01/20/2011 (c)
For the Period Ending:     7/27/2018                                                                                             §341(a) Meeting Date:                       03/07/2011
                                                                                                                                 Claims Bar Date:                            02/12/2018

                               1                                2                         3                              4                        5                                         6

                       Asset Description                     Petition/             Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                     Unscheduled            (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                  Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)




Initial Projected Date Of Final Report (TFR):                            Current Projected Date Of Final Report (TFR):                                /s/ PETER H. ARKISON
                                                                                                                                                      PETER H. ARKISON




                                        Case 10-24188-MLB       Doc 64      Filed 08/27/18            Ent. 08/27/18 12:44:24               Pg. 4 of 12
                                                                                                                                                                        Page No: 1                 Exhibit B
                                                                                              FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         10-24188                                                                                             Trustee Name:                           Peter H. Arkison
 Case Name:                       BROWN, JEREMEY K AND BROWN, LISA M                                                                   Bank Name:                              Green Bank
Primary Taxpayer ID #:            **-***1009                                                                                           Checking Acct #:                        ******8801
Co-Debtor Taxpayer ID #:          **-***1010                                                                                           Account Title:
For Period Beginning:             11/29/2010                                                                                           Blanket bond (per case limit):          $78,753,461.00
For Period Ending:                7/27/2018                                                                                            Separate bond (if applicable):

       1                2                                3                                           4                                                       5                       6                    7

   Transaction       Check /                           Paid to/            Description of Transaction                                   Uniform           Deposit            Disbursement               Balance
      Date            Ref. #                        Received From                                                                      Tran Code            $                     $


06/20/2018                     Wexler Wallace LLP                   Net proceeds from settlement of Multi District Litigation               *            $191,472.91                                     $191,472.91
                      {12}                                          Gross settlement                                    $300,000.00     1242-000                                                         $191,472.91
                                                                    Counsel for Multi District Litigation               $(99,000.00)    3210-600                                                         $191,472.91
                                                                    Multi District litigation expenses                   $(5,016.02)    3220-610                                                         $191,472.91
                                                                    Medicare, Medicaid, Premera Blue Cross               $(4,511.07)    4220-000                                                         $191,472.91
                                                                    medical liens
06/29/2018                     Green Bank                           Bank Service Fee                                                    2600-000                                         $109.63         $191,363.28
07/16/2018           3001      Jeremey and Lisa Brown                                                                                   8100-002                                     $64,000.00          $127,363.28

                                                                                       TOTALS:                                                            $191,472.91                $64,109.63          $127,363.28
                                                                                           Less: Bank transfers/CDs                                             $0.00                     $0.00
                                                                                       Subtotal                                                           $191,472.91                $64,109.63
                                                                                           Less: Payments to debtors                                            $0.00                $64,000.00
                                                                                       Net                                                                $191,472.91                   $109.63



                     For the period of 11/29/2010 to 7/27/2018                                                      For the entire history of the account between 06/20/2018 to 7/27/2018

                     Total Compensable Receipts:                    $300,000.00                                     Total Compensable Receipts:                                 $300,000.00
                     Total Non-Compensable Receipts:                      $0.00                                     Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $300,000.00                                     Total Comp/Non Comp Receipts:                               $300,000.00
                     Total Internal/Transfer Receipts:                    $0.00                                     Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:               $108,636.72                                     Total Compensable Disbursements:                           $108,636.72
                     Total Non-Compensable Disbursements:            $64,000.00                                     Total Non-Compensable Disbursements:                        $64,000.00
                     Total Comp/Non Comp Disbursements:             $172,636.72                                     Total Comp/Non Comp Disbursements:                         $172,636.72
                     Total Internal/Transfer Disbursements:               $0.00                                     Total Internal/Transfer Disbursements:                           $0.00




                                            Case 10-24188-MLB       Doc 64          Filed 08/27/18             Ent. 08/27/18 12:44:24                   Pg. 5 of 12
                                                                                                                                                            Page No: 2                Exhibit B
                                                                                          FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         10-24188                                                                                  Trustee Name:                           Peter H. Arkison
Case Name:                       BROWN, JEREMEY K AND BROWN, LISA M                                                        Bank Name:                              Green Bank
Primary Taxpayer ID #:           **-***1009                                                                                Checking Acct #:                        ******8801
Co-Debtor Taxpayer ID #:         **-***1010                                                                                Account Title:
For Period Beginning:            11/29/2010                                                                                Blanket bond (per case limit):          $78,753,461.00
For Period Ending:               7/27/2018                                                                                 Separate bond (if applicable):

      1                 2                                3                                       4                                               5                       6                   7

  Transaction        Check /                         Paid to/            Description of Transaction                         Uniform           Deposit            Disbursement              Balance
     Date             Ref. #                      Received From                                                            Tran Code            $                     $




                                                                                                                                                                              NET            ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                             NET DEPOSITS                         DISBURSE           BALANCES

                                                                                                                                            $191,472.91              $64,109.63             $127,363.28




                     For the period of 11/29/2010 to 7/27/2018                                          For the entire history of the case between 01/20/2011 to 7/27/2018

                     Total Compensable Receipts:                  $300,000.00                           Total Compensable Receipts:                                 $300,000.00
                     Total Non-Compensable Receipts:                    $0.00                           Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                $300,000.00                           Total Comp/Non Comp Receipts:                               $300,000.00
                     Total Internal/Transfer Receipts:                  $0.00                           Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:             $108,636.72                           Total Compensable Disbursements:                            $108,636.72
                     Total Non-Compensable Disbursements:          $64,000.00                           Total Non-Compensable Disbursements:                         $64,000.00
                     Total Comp/Non Comp Disbursements:           $172,636.72                           Total Comp/Non Comp Disbursements:                          $172,636.72
                     Total Internal/Transfer Disbursements:             $0.00                           Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                        /s/ PETER H. ARKISON
                                                                                                                        PETER H. ARKISON




                                          Case 10-24188-MLB       Doc 64        Filed 08/27/18        Ent. 08/27/18 12:44:24                Pg. 6 of 12
                                                                                          CLAIM ANALYSIS REPORT                                              Page No: 1                 Exhibit C


  Case No.                      10-24188                                                                                                 Trustee Name:               Peter H. Arkison
  Case Name:                    BROWN, JEREMEY K AND BROWN, LISA M                                                                       Date:                       7/27/2018
  Claims Bar Date:              02/12/2018

 Claim               Creditor Name          Claim           Claim Class          Claim       Uniform     Scheduled      Claim        Amount         Amount            Interest          Tax            Net
  No.:                                      Date                                 Status     Tran Code    Amount        Amount        Allowed          Paid                                          Remaining
                                                                                                                                                                                                     Balance

          WEXLER WALLACE LLP              06/20/2018   Trustees Special         Allowed      3210-600          $0.00    $99,000.00    $99,000.00     $99,000.00             $0.00          $0.00          $0.00
                                                       Counsel Fees
          55 West Monroe St. Suite 3300
          Chicago IL 60603
          WEXLER WALLACE, LLP             06/20/2018
                                                  Trustees Special             Allowed        3220-610         $0.00     $5,016.02     $5,016.02      $5,016.02             $0.00          $0.00          $0.00
                                                  Counsel Expenses
        WEXLER WALLACE, LLP          06/20/2018 Other Administrative           Allowed        2990-000         $0.00     $4,511.07     $4,511.07      $4,511.07             $0.00          $0.00          $0.00
                                                  Expense
Claim Notes: Medicare, Medicaid, Premera Blue Cross medical liens pursuant to Order of June 11, 2018
          JEREMEY AND LISA                06/23/2018   Exemptions               Allowed      8100-002     $64,000.00    $64,000.00    $64,000.00     $64,000.00             $0.00          $0.00          $0.00
          BROWN
          PETER H. ARKISON                07/27/2018   Trustee                  Allowed      2100-000          $0.00     $9,834.21     $9,834.21          $0.00             $0.00          $0.00      $9,834.21
                                                       Compensation
         103 E Holly St Suite 502
         Bellingham WA 98225
        JEREMEY K BROWN                   07/27/2018   Surplus Funds Paid to    Allowed      8200-002          $0.00   $104,315.83   $104,315.83          $0.00             $0.00          $0.00    $104,315.83
        AND LISA M BROWN                               Debtor
         312 13TH ST
         GOLD BAR WA 98251
Claim Notes: Debtor Surplus
      1   DISCOVER BANK                   06/23/2018   Unsecured Credit         Allowed      7100-900          $0.00     $5,223.89     $5,223.89          $0.00           $111.52          $0.00      $5,223.89
                                                       Card Creditor
          Dfs Services LLC
          P.O. Box 3025
          New Albany OH 43054-3025
      2   GE MONEY BANK                   06/23/2018   Unsecured Credit         Allowed      7100-900          $0.00      $219.31       $219.31           $0.00             $4.68          $0.00       $219.31
                                                       Card Creditor
          c/o B-Line LLC
          MS 550
          P.O. Box 91121
          Seattle WA 98111-9221




                                          Case 10-24188-MLB                    Doc 64     Filed 08/27/18        Ent. 08/27/18 12:44:24             Pg. 7 of 12
                                                                                  CLAIM ANALYSIS REPORT                                             Page No: 2                 Exhibit C


 Case No.                      10-24188                                                                                         Trustee Name:               Peter H. Arkison
 Case Name:                    BROWN, JEREMEY K AND BROWN, LISA M                                                               Date:                       7/27/2018
 Claims Bar Date:              02/12/2018

Claim               Creditor Name       Claim           Claim Class      Claim       Uniform     Scheduled     Claim        Amount         Amount            Interest          Tax            Net
No.:                                    Date                             Status      Tran Code   Amount       Amount        Allowed          Paid                                          Remaining
                                                                                                                                                                                            Balance

    3   HSBC BANK NEVADA,             06/23/2018   Unsecured Credit     Allowed      7100-900         $0.00     $1,058.51     $1,058.51          $0.00           $22.60           $0.00      $1,058.51
        N.A.                                       Card Creditor
         c/o PRA Receivables
         Management, LLC
         P.O. Box 12907
         Norfolk VA 23541
    4   WELLS FARGO DEALER            06/23/2018   Secured             Disallowed    4210-000         $0.00     $2,812.50         $0.00          $0.00             $0.00          $0.00          $0.00
        SERVICES, INC.
         P.O. Box 25341
         Santa Ana CA 92799
    5   BENEFICIAL                    06/23/2018   General Unsecured    Allowed      7100-000         $0.00     $4,112.79     $4,112.79          $0.00           $87.80           $0.00      $4,112.79
        WASHINGTON, INC.
         c/o PRA Receivables
         Management, LLC
         P.O. Box 12907
         Norfolk VA 23541
    6   AMERICAN EXPRESS              06/23/2018   Unsecured Credit     Allowed      7100-900         $0.00     $2,322.56     $2,322.56          $0.00           $49.58           $0.00      $2,322.56
        BANK, FSB                                  Card Creditor
         c/o Beckett and Lee LLP
         P.O. Box 3001
         Malvern PA 19355-0701
                                                                                                              $302,426.69   $299,614.19    $172,527.09           $276.18         $0.00     $127,087.10




                                      Case 10-24188-MLB                Doc 64       Filed 08/27/18      Ent. 08/27/18 12:44:24            Pg. 8 of 12
                                                                         CLAIM ANALYSIS REPORT                                              Page No: 3                 Exhibit C


Case No.                       10-24188                                                                                 Trustee Name:               Peter H. Arkison
Case Name:                     BROWN, JEREMEY K AND BROWN, LISA M                                                       Date:                       7/27/2018
Claims Bar Date:               02/12/2018


      CLAIM CLASS SUMMARY TOTALS

                                            Claim Class                     Claim         Amount        Amount                   Interest                Tax                  Net
                                                                           Amount         Allowed        Paid                                                              Remaining
                                                                                                                                                                            Balance


           Exemptions                                                       $64,000.00     $64,000.00    $64,000.00                      $0.00               $0.00                  $0.00

           General Unsecured                                                 $4,112.79      $4,112.79           $0.00                   $87.80               $0.00             $4,112.79

           Other Administrative Expense                                      $4,511.07      $4,511.07     $4,511.07                      $0.00               $0.00                  $0.00

           Secured                                                           $2,812.50          $0.00           $0.00                    $0.00               $0.00                  $0.00

           Surplus Funds Paid to Debtor                                    $104,315.83    $104,315.83           $0.00                    $0.00               $0.00           $104,315.83

           Trustee Compensation                                              $9,834.21      $9,834.21           $0.00                    $0.00               $0.00             $9,834.21

           Trustees Special Counsel Expenses                                 $5,016.02      $5,016.02     $5,016.02                      $0.00               $0.00                  $0.00

           Trustees Special Counsel Fees                                    $99,000.00     $99,000.00    $99,000.00                      $0.00               $0.00                  $0.00

           Unsecured Credit Card Creditor                                    $8,824.27      $8,824.27           $0.00               $188.38                  $0.00             $8,824.27




                                          Case 10-24188-MLB     Doc 64   Filed 08/27/18     Ent. 08/27/18 12:44:24              Pg. 9 of 12
                                                                                                 Exhibit D
                                TRUSTEE’S PROPOSED DISTRIBUTION

Case No.:           10-24188
Case Name:          JEREMEY K BROWN
                    LISA M BROWN
Trustee Name:       Peter H. Arkison

                                                                Balance on hand:                    $127,363.28


         Claims of secured creditors will be paid as follows:

Claim No. Claimant                      Claim Asserted           Allowed          Interim              Proposed
                                                                Amount of      Payments to              Amount
                                                                   Claim             Date
           4 Wells Fargo Dealer               $2,812.50              $0.00              $0.00                $0.00
             Services, Inc.


                                           Total to be paid to secured creditors:                         $0.00
                                                            Remaining balance:                      $127,363.28

         Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                    Total         Interim              Proposed
                                                                Requested      Payments to             Payment
                                                                                     Date
Peter H. Arkison, Trustee Fees                                   $9,834.21              $0.00          $9,834.21
Counsel for Multi District Litigation, Special                  $99,000.00          $99,000.00               $0.00
Counsel for Trustee Fees
Multi District litigation expenses, Special Counsel              $5,016.02           $5,016.02               $0.00
for Trustee Expenses


                          Total to be paid for chapter 7 administrative expenses:                     $9,834.21
                                                             Remaining balance:                     $117,529.07

         Applications for prior chapter fees and administrative expenses have been filed as follows:
NONE



                       Total to be paid to prior chapter administrative expenses:                         $0.00
                                                             Remaining balance:                     $117,529.07

         In addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured) creditors.



UST Form 101-7-TFR (5/1/2011)


Case 10-24188-MLB               Doc 64     Filed 08/27/18       Ent. 08/27/18 12:44:24            Pg. 10 of 12
         Allowed priority claims are: NONE



                                                 Total to be paid to priority claims:                    $0.00
                                                                Remaining balance:                 $117,529.07

        The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

        Timely claims of general (unsecured) creditors totaling $12,937.06 have been allowed and will be
paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
allowed general (unsecured) dividend is anticipated to be 100.0 percent, plus interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim No. Claimant                                             Allowed Amt.           Interim         Proposed
                                                                    of Claim       Payments to         Amount
                                                                                         Date
           1 Discover Bank                                          $5,223.89            $0.00        $5,223.89
           2 GE Money Bank                                            $219.31            $0.00         $219.31
           3 HSBC Bank Nevada, N.A.                                 $1,058.51            $0.00        $1,058.51
           5 Beneficial Washington, Inc.                            $4,112.79            $0.00        $4,112.79
           6 American Express Bank, FSB                             $2,322.56            $0.00        $2,322.56


                                Total to be paid to timely general unsecured claims:                $12,937.06
                                                                Remaining balance:                 $104,592.01

        Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
applicable).

         Tardily filed general (unsecured) claims are as follows: NONE



                       Total to be paid to tardily filed general unsecured claims:                       $0.00
                                                              Remaining balance:                   $104,592.01

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).




UST Form 101-7-TFR (5/1/2011)


Case 10-24188-MLB                  Doc 64     Filed 08/27/18       Ent. 08/27/18 12:44:24        Pg. 11 of 12
        Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows: NONE



                                      Total to be paid for subordinated claims:                        $0.00
                                                            Remaining balance:                   $104,592.01

          To the extent funds remain after payment in full of all allowed claims, interest will be paid at the
legal rate of 0.27 percent pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest are $276.18. The
amounts proposed for payment to each claimant, listed above, shall be increased to include the applicable
interest.

       The amount of surplus returned to the debtor(s) after payment of all claims and interest is
$104,315.83.




UST Form 101-7-TFR (5/1/2011)


Case 10-24188-MLB               Doc 64    Filed 08/27/18       Ent. 08/27/18 12:44:24          Pg. 12 of 12
